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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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Tatas:
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UNITED STATES OF AMERICA,

-against- No. 20 cr. &] / (JFK)
O Valle ORDER

Defendant.

 

JOHN F. KEENAN, United States District Judge:

This Order is entered, pursuant to Federal Rule of Criminal
Procedure 5(f}, to confirm the Government's disclosure
obligations under Brady v. Maryland, 373 U.S. 83 (1963), and its
progeny, and to summarize the possible consequences of violating
those obligations.

The Government must disclose to the defense all information
“favorable to an accused” that is “material either to guilt or
to punishment” and that is known to the Government. Id. at 87.
This obligation applies regardless of whether the information
would itself constitute admissible evidence. The Government
shali disclose such information to the defense promptly after
its existence becomes known to the Government so that the
defense may make effective use of the information in the
preparation of its case.

As part of these obligations, the Government must disclose
any information that can be used to impeach the trial testimony

of a Government witness within the meaning of Giglio v. United

 

 
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States, 405 U.S. 150 (1972), and its progeny. Such information
must be disclosed sufficiently in advance of trial in order for
the defendant to make effective use of it at trial or at such
other time as the Court may order.

The foregoing obligations are continuing ones and apply to
materials that become known to the Government in the future.
Additionally, if information is otherwise subject to disclosure,
it must be disclosed regardless of whether the Government
credits it.

In the event the Government believes that a disclosure
under this Order would compromise witness safety, victim rights,
national security, a sensitive law-enforcement technique, or any
other substantial government interest, it may apply to the Court
for a modification of its obligations, which may include in
camera review or withholding or subjecting to a protective order
all or part of the information otherwise subject to disclosure.

For purposes of this Order, the Government includes all
current or former federal, state, and local prosecutors, law-
enforcement officers, and other officers who have participated
in the prosecution, or investigation that led to the
prosecution, of the offense or offenses with which the defendant
is charged. The Government has an affirmative obligation to
seek from such sources all information subject to disclosure

under this Order.

 

 
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Tf the Government fails to comply with this Order, the

Court, in addition to ordering production of the information,

may:
(1) specify the terms and conditions of such production;
(2) grant a continuance;
(3) impose evidentiary sanctions;
(4) impose sanctions on any responsible lawyer for the
Government;
(5) dismiss charges before trial or vacate a conviction

after trial or a guilty plea; or

(6) enter any other order that is just under the
circumstances,

SO ORDERED.

Dated: New York, New York ft ya
November 2, 2020 ; ta) |
John F.’ Keenan

United States District Judge

 

 

 
